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                                   1                                     UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          State of California, et al.       ,           Case No. 4:25-cv-04966
                                                         Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION
                                                  v.                                        OF ATTORNEY PRO HAC VICE;
                                   6
                                                                                            ORDER
                                   7          U.S. EPA, et al.                  ,           (CIVIL LOCAL RULE 11-3)
                                                         Defendant(s).
                                   8

                                   9

                                  10          I, William G Grantham           , an active member in good standing of the bar of

                                  11   New Mexico                             , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: State of New Mexico                  in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Margaret Elaine Meckenstock , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         268861

                                  16        201 Third St. NW Ste 300                        1515 Clay Street, 20th Floor, Oakland, CA 94612
                                            Albuquerque, NM 87102
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   505-717-3520                                          510-879-0299
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                        WGrantham@nmdoj.gov                                  Elanie.Meckenstock@doj.ca.gov
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 14-20                  .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 6/18/2025                                              William G Grantham
                                                                                                     APPLICANT
                                   5

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                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

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                                  11            IT IS HEREBY ORDERED THAT the application of William G Grantham                      is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated: June 23, 2025

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                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
